39 F.3d 1177
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James N. KEELER, Plaintiff Appellant,v.Robert L. STODDARD, Attorney;  Horace C. Smith, Attorney,Defendants Appellees.
    No. 94-6689.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  September 26, 1994Decided:  October 27, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Spartanburg.  David C. Norton, District Judge.  (CA-94-744)
      James N. Keeler, Appellant Pro Se.
      Robert L. Stoddard, Moore, Stoddard, Stoddard &amp; Wood, Spartanburg, South Carolina;  Horace C. Smith, Whiteside, Smith, Jones &amp; Duncan, Spartanburg, South Carolina, for Appellees.
      D.S.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and WILKINSON and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Keeler v. Stoddard, No. CA-94-744 (D.S.C. May 18, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    